IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

GARY BRICE McBAY,
Plaintiff,

VERSUS CIVIL ACTION NO: 1:07cv1205LG-RHW

HARRISON COUNTY, MISSISSIPPI,

by and through its Board of

Supervisors; HARRISON COUNTY

SHERIFF, George Payne, in his

official capacity; CORRECTIONS

OFFICER MORGAN THOMPSON,

acting under color of state law,
Defendants.

DEPOSITION OF REGINA L. RHODES

Taken at the offices of Brown Buchanan,
P.A., 796 Vieux Marche' Mall, Suite 1,
Biloxi, Mississippi, on Thursday,
September 17, 2009, beginning at 2:22

p.m.

APPEARANCES :

PATRICK R. BUCHANAN, ESQUIRE

MARK V. WATTS, ESQUIRE

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Biloxi, Mississippi 39530
ATTORNEYS FOR PLAINTIFF

JOE C. GEWIN, ESQUIRE

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ATTORNEY FOR GEORGE PAYNE, JR.

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11/6/05. Okay? Does that look about right on
the -- what we see at the bottom of the screen --

A. Yes, sir.

Q. -- on the date and time stamp? ,
5 Okay. Go forward. Stop it right there. i
6 Stopping it at 20:41:48. And the correction :
7 officer in the lower right-hand picture, who is :
8 that? a
9 A. Deputy Morgan Thompson. a
10 O.. And we see Deputy Thompson doing what? I
11 A. He's putting on his gloves. }
12 Q. Black gloves, right? |
13 A. Yes, sir. ih
14 Q. All right. Based on your experience Wd
15 working with Officer Thompson, when he was putting i
16 | on black gloves like that, what did that normally Hh
17 mean? |
18 A. That he was about to deal with an
19 inmate, possibly be in an altercation. |
20 Q. All right. When you say "deal with an
21 inmate, possibly be in an altercation," what do
aa you mean?
23 A. Maybe put his hands on somebody.
24 Q. Was he about to be abusive with an
25 inmate?

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Q. All right. Can we roll forward? All

right. What I want you to do here is, if you
would, watch the square, the right hand -- in the
right-hand corner and -- yeah, can you back that
up for me a little bit? All right. Stop. All
right. We're at 20:42:33, and you're watching the
right-hand, lower right-hand corner square.

A. Yes, sir.

O. And did you see -- stop it. At 20 -- it
looks like 20:43:14 or a little bit before. I
mean, obviously there's a fuzzy line at the
bottom, and the date and time stamp is very hard
to read, isn't it?

A. Yes, sir.

Q. All right. But did you see that at the

bottom, the legs?

A. Yes, sir.

Q. Tell us what you saw or what you believe.
you saw.

A. I believe whichever inmate was standing

there had his feet come out from underneath him.
Q. All right. And what type of move would
a correction officer use on an inmate to take them

down to have his feet come out from under him like

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A. Yes, sir.

Q. Go on. All right. Stop it there for a
minute. Can you maybe go forward just a little
bit to see if -- all right. Stop. It looked
like -- or we're at 20:50:05, and in the bottom
left-hand corner, is that Officer Thompson?

Ais Yes, sir, it is.

Q. And we see him with an inmate, right?

A. Yes, sir.

Q. All right. Let's go forward. And stop
it right there. And I can't give you a Bates and
time stamp, I'm sorry, because of the blur on the
bottom. But we've gone forward a little bit, and
we see Officer Thompson. It looks like he's
putting handcuffs in the back where you hold your
handcuffs; is that right?

A. Yes, sir.

Ce And his hat is on his head, but his hat
is turned around, isn't it?

A. Yes, Sir.

OG. In your experience with Officer
Thompson, when he turned his hat around, what did
that mean?

MR. BRENDEL:

Object to the form.

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T wR. BUCHANAN :

Q. You can answer.

A. That he was about to have a physical
altercation with an inmate.

Q. So the gloves on, hat backwards meant
that something bad was about to happen?

A. Yes, sir.

MR. BRENDEL:
Object to the form.
MR. BUCHANAN:

Q. All right. Go forward. Now, I want you
to watch him with this inmate. And did you see
that?

A. Yes, sir.

Q. All right. What did you see?

A. It appeared that he -- he either hit him
or pushed him down because the inmate fell.

0. Did that look like the inmate was
bending over to take his shoes and socks off?

A. No, sir.

MR. BRENDEL:
Object to the form, speculation.
MR. BUCHANAN:
Q. Did that look like the inmate was so

drunk that he couldn't stand up?

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there?
A. Yes, Sir.
MR. GEWIN:
Object to the form.
MR. BUCHANAN:

Q. All right. Officer Thompson then
testifies, As I was reaching out the door and
looking away, that's when he caught me in the back
of the head, "he" being Brice.

j 10 Now, if you'd roll it forward from

; 11 20:50:03. And stop it there. It's 20:50, it

4 12 looks like, 40 -- or 20:50:58 on the screen. But
t 13 just before we stopped it, between when Officer

; 14 Thompson took Brice down in between what we have
‘ 15 on the screen now, 20:50:58, you saw Officer

i 16 Thompson's movements and how he was moving around
17 Brice?

18 A. Yes, sar

19 MR. BRENDEL:

| 20 Wait a second. I just want to object to
21 the taking down part. Go ahead.

_ 22) MR. BUCHANAN:

23 Oo. Based on your experience with Officer
24 Thompson, tell us what you saw in his body

: 25 language and, you know, your knowledge of him.

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What did you see?
A. Well, he was --
MR. BRENDEL:
Object to the form. You can answer.
THE WITNESS:
He was standing over him like he was
taunting him.
MR. BUCHANAN:

Os All right. Go forward at 20:50:58.
Well, at 20:50:58 we've seen everybody go into the
shower, right --

A. Yes, sir.

Q. -- Thompson, Brice, and Windham?

A. Yes, sir.

Q. Watch the door. All right. Stop it
there. At 20:51:24 you saw Officer Thompson step
into the doorway and step back, right?

A. Yes, sir.

Q. At any time between 20:50 whatever I
Said earlier and 20:51:24, did you see Officer
Thompson come outside that doorway and reach
outside to get any clothing?

A. No, Sir.

Os All right. Move forward. Now, at

20:51:34-ish, Officer Thompson and Officer Windham

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Q. That wasn't for anything else, right?
A. No.
Q. Okay. Let's move to the McBay incident.

You saw the video today, right?

A. Yes.

Q. Okay. At any time during the whole tape
that you were shown today, were you personally
present to witness any of that?

A. On the screen?

QO. No, no. Were you personally present in
the booking area to witness?

A. Yes.

QO. Okay. What part of the booking area
were you in?

“Bis I would assume I was behind the counter,
but I have no recollection, myself, of the event.

Q. Okay. When you say you have no
recollection, that means you don't know what was
said between Thompson and McBay --

A. No.

Q. -- correct? You don't know how Thompson

was acting, correct?

A. No. I saw from the tape his body
language.
Q. Okay. But you don't have any personal

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recollection of how Thompson was acting that day,

correct?
A. No.
O. Or how McBay was acting, right?
Ps No.
Q. You don't know whether or not Mr. McBay

was drunk, sober or any of that, correct?

A. No.

0. You don't know if Mr. McBay made any
threats towards Mr. Thompson, correct?

A. No, I do not know.

Q. Or vice versa, any threats Mr. Thompson
may have made toward Mr. McBay, right?

A. No.

Q. Okay. I gather that -- and you saw in
the tape with Mr. McBay them walk into the shower?
Yes?

A. yes.

Q. Okay. You don't know -- you didn't see
what happened in that room, correct?

A. No.

OQ. And I think you were asked some
questions earlier. I just want to make sure I'm
clear. If you do testify at trial, are you going

to give an opinion about what Mr. Thompson did

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recollection.

Q. Do you have any independent knowledge
that that report was false?

A. No.

Q. Do you have any independent knowledge
that the Carrubba report was false?

A. No.

Q. Do you have any independent knowledge
that the Vanderburg report was false?

A. No.

Q. And would that be the same with the Seal
report, you don't have any independent knowledge
it was false?

A. No, I do not.

0. Okay. I probably should have asked you
this at the beginning of the deposition, but are

you taking any medication right now?

A. Yes, I am.

Q. Can you tell me what medication you're
taking?

A. I take 300 milligrams of Wellbutrin XL,

generic, whatever that is; trazodone,
50 milligrams; and BuSpar, I've taken
45 milligrams today.

Q. Okay. Wellbutrin, that's an

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